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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                 Plaintiff,
                                          Case No. 21-CR-20629
vs.
                                          HON. GEORGE CARAM STEEH
JOHN RANKIN III,

              Defendant.
___________________________________/

            ORDER DENYING EMERGENCY MOTION FOR
         TEMPORARY BEREAVEMENT RELEASE [ECF NO. 52]

      Defendant John Rankin III is charged in this Court in a four-person

indictment with Conspiracy to Distribute a Controlled Substance, in

violation of 21 U.S.C. 846; Attempted Possession with Intent to Distribute a

Controlled Substance - Methamphetamine, 21 U.S.C. §§ 841, 846;

and, Attempted Possession with Intent to Distribute a Controlled

Substance – Fentanyl, in violation of 21 U.S.C. §§ 841, 846. On November

10, 2021, the Court ordered that defendant be detained pending trial.

Defendant is also charged in a 19-defendant pain pill distribution

conspiracy before Judge Bernard Friedman, Case No. 20-20233.

Defendant is on bond in that case, subject to home confinement and

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monitoring by GPS tether, with the additional requirement that he must

obtain permission from Pretrial Services if he seeks to leave his house for

medical appointments. Of particular significance to this Court’s detention

determination, defendant’s new criminal activity was committed in violation

of his supervised release.

       This matter is now before the Court on defendant’s emergency

motion seeking a one-day release from pre-trial detention for purposes of

attending his uncle’s funeral. Pretrial Services has informed the Court that it

opposes defendant’s request due to defendant’s failure to comply with his

bond conditions in his case before Judge Friedman. Furthermore, the Court

notes that defendant has not filed a motion for bereavement release before

Judge Friedman, depriving him of the opportunity to assess the request,

which would require a modification of bond conditions set in Case No.

20-20233.

      The Court finds that despite defendant’s unfortunate family

circumstances, based on his past failure to comply with release conditions,

and to protect the public, defendant shall not be granted a bereavement

release. Now, therefore,

      IT IS HEREBY ORDERED that defendant’s motion for temporary


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bereavement release is DENIED.

Dated: November 19, 2021
                                   s/George Caram Steeh
                                   GEORGE CARAM STEEH
                                   UNITED STATES DISTRICT JUDGE




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